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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: June 30, 2017



________________________________________________________________

B17-16763                          CAJ\sbt

                 IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                       WESTERN DIVISION - DAYTON

IN RE:                               )    CHAPTER 7
                                     )
KELLY DENISE HENSLEY                 )    CASE NO. 17-30912
                                     )
              Debtor                 )    JUDGE LAWRENCE S. WALTER
                                     )
                                     )    PROPERTY ADDRESS:
                                     )    ** 8009 Volk Drive
                                     )       Dayton, OH 45415

         ORDER GRANTING FIRST GUARANTY MORTGAGE CORPORATION
            MOTION FOR RELIEF FROM STAY (Re: Docket #15)


       This matter came to be considered on the Motion for Relief

from   Stay   (the     “Motion”)     filed   by   FIRST    GUARANTY      MORTGAGE

CORPORATION, hereinafter referred to as “FIRST GUARANTY”, with

respect to the collateral described on Exhibit “A” a copy of

which is attached hereto.
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      FIRST     GUARANTY        has   alleged    that   good   cause     exists      for

granting the Motion and that Debtor, counsel for Debtor, the

Chapter 7 Trustee, and all other necessary parties were served

with the Motion and Notice of Motion in compliance with L.B.R.

9013-3.    On      May    24,     2017,   the   Chapter    7   Trustee       filed    an

Objection     to    the     Motion    [Docket    #19]   but    his   Objection       was

subsequently withdrawn on June 16, 2017 [Docket #29]. The notice

period applicable to the underlying motion has passed and no

other party filed a response or otherwise appeared in opposition

to the Motion.

      Based on this, it appears appropriate to grant the relief

requested.

      IT IS, THEREFORE, ORDERED:

      The Motion is granted and the automatic stay imposed by

§362 of the Bankruptcy Code is terminated with respect to FIRST

GUARANTY and the collateral.

      IT IS SO ORDERED.

Submitted by:


/s/ Cynthia A. Jeffrey
Reimer Law Co.
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                                  EXHIBIT A
                              LEGAL DESCRIPTION
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Copies to:

Default List

County Treasurer
451 West Third Street, Second Floor
Dayton, Ohio 45422



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